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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHAROAH CASTRO                        :       CIVIL ACTION
                                      :
       v.                             :
                                      :
DEPUTY DIRECTOR KASTORA, Et. Al. :
Director of Correction, RN MICHELLE   :
CORA, RN JESSICA JONES, RN            :
JENNIFER MROZ, RN JENNIFER            :
KELLER, DR. THOMAS, Psychologist,     :
OFFICER THELESMA, RN KRISTEN          :
HUI, RN NICOLE REISS, JOHN DOE 1,     :
2, 3, KENNETH R. WOCZEWSKI, DR.       :
DANIEL HECKMAN, RN. PATRICIA          :
KIEBA, SUPERINTENDENT CYTHIAN         :
LINK, MEDICAL PROVIDER, MR.           :
KORSZNIAK, Health Care Administrator, :
SECRETARY JOHN WETZEL,                :
SUPERINTENDENT MICHAEL                :
OVERMYER and MEDICAL PROVIDER, :
All Sued in Defendants Individual     :
And Official Capacities               :       NO. 18-1029

                                       ORDER

      NOW, this 20th day of September, 2018, upon consideration of Defendants

Director of Corrections Kostura and Officer Thelesma’s Motion to Dismiss Plaintiff’s

Complaint (Document No. 21) and the plaintiff’s responses (Document Nos. 23 and 27), it

is ORDERED that the motion is GRANTED.

      IT IS FURTHER ORDERED that the complaint is dismissed as to the defendants

Director of Corrections James Kostura and Corrections Officer Abner Thelesma.




                                                     /s/TIMOTHY J. SAVAGE
